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15

16                              UNITED STATES DISTRICT COURT
17                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
18

19   S.A.; et al.,                                  Case No. 3:18-cv-03539-LB

20                       Plaintiffs,                DECLARATION OF DANIEL B. ASIMOW
                                                    IN SUPPORT OF PLAINTIFFS’ MOTION
21           v.                                     FOR PRELIMINARY INJUNCTION
22   DONALD J. TRUMP, in his official capacity as   Date:       August 16, 2018
     President of the United States; et al.,        Time:       9:30 a.m.
23                                                  Place:      Courtroom C (15th Floor)
                         Defendants.                Judge:      Hon. Laurel Beeler
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     DECLARATION OF DANIEL B. ASIMOW                                        No. 3:18-cv-03539-LB
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 1          I, Daniel B. Asimow, declare as follows:

 2          1.        I am an attorney at the law firm of Arnold & Porter Kaye Scholer LLP, counsel for

 3   Plaintiffs in this action. I make this declaration based on my personal knowledge and if called as a

 4   witness I could and would testify competently to the facts stated herein.

 5          2.        Attached hereto as Exhibit 1 is a true and correct copy of 82 Fed. Reg. 38,926,
 6   available at https://www.gpo.gov/fdsys/pkg/FR-2017-08-16/pdf/2017-16828.pdf (last accessed July

 7   9, 2018).

 8          3.        Attached hereto as Exhibit 2 is a true and correct copy of a United State Department
 9   of State report titled “Proposed Refugee Admissions for Fiscal Year 2015”, dated September 18,

10   2014 , available at https://www.state.gov/j/prm/releases/docsforcongress/231817.htm (last accessed

11   July 3, 2018).

12          4.        Attached hereto as Exhibit 3 is a true and correct copy of a United States Customs
13   and Border Patrol report titled “Southwest Border Unaccompanied Alien Children Statistics FY

14   2016”, available at https://www.cbp.gov/site-page/southwest-border-unaccompanied-alien-children-

15   statistics-fy-2016 (last accessed July 3, 2018).

16          5.        Attached hereto as Exhibit 4 is a true and correct copy of an article from the
17   Harvard Public Health Review titled “The Crisis in Our Own Backyard: United States Response to

18   Unaccompanied Minor Children from Central America”, available at

19   http://harvardpublichealthreview.org/the-crisis-in-our-own-backyard-united-states-response-to-

20   unaccompanied-minor-children-from-central-america/ (last accessed July 3, 2018).
21          6.        Attached hereto as Exhibit 5 is a true and correct copy of a January 18, 2017 article
22   from the Congressional Research Service titled “Unaccompanied Alien Children: An Overview”,

23   available at https://fas.org/sgp/crs/homesec/R43599.pdf (last accessed July 3, 2018).

24          7.        Attached hereto as Exhibit 6 is a true and correct copy of a report from the
25   Citizenship and Immigration Services Ombudsman titled “Recommendation on the Central

26   American Minors (CAM) Refugee/Parole Program”, dated December 21, 2016, available at

27   https://www.dhs.gov/sites/default/files/publications/CIS%20Ombudsman%20Recommendation%20

28   on%20the%20CAM%20Refugee-Parole%20Program.pdf (last accessed July 3, 2018).

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     DECLARATION OF DANIEL B. ASIMOW                                                    No. 3:18-cv-03539-LB
              Case 3:18-cv-03539-LB Document 25 Filed 07/12/18 Page 3 of 9



 1            8.    Attached hereto as Exhibit 7 is a true and correct copy of a April 11, 1990 United
 2   States General Accounting Office report titled “Refugee Program - The Orderly Departure From

 3   Vietnam”, available at http://archive.gao.gov/t2pbat10/141353.pdf (last accessed July 3, 2018).

 4            9.    Attached hereto as Exhibit 8 is a true and correct copy of a United State Department
 5   of State webpage titled “Central American Minors (CAM) Program”, available at

 6   http://web.archive.org/web/20170806132845/https://www.state.gov/j/prm/ra/cam/index.htm

 7   (version from August 6, 2017 last accessed on July 3, 2018).

 8            10.   Attached hereto as Exhibit 9 is a true and correct copy of a January 20, 2017 Fact
 9   Sheet from the United States Department of State titled “Expansion of the Central American Minors

10   (CAM) Program”, available at https://www.state.gov/j/prm/releases/factsheets/2017/266363.htm

11   (last accessed July 3, 2018).

12            11.   Attached hereto as Exhibit 10 is a true and correct copy of a United States
13   Citizenship and Immigration Services webpage titled “In-Country Refugee/Parole Processing for

14   Minors in Honduras, El Salvador and Guatemala (Central American Minors - CAM)” , available at

15   http://web.archive.org/web/20170806014805/https://www.uscis.gov/CAM (version from August 6,

16   2017 last accessed on July 3, 2018).

17            12.   Attached hereto as Exhibit 11 is a true and correct copy of a July 2017 United States
18   General Accounting Office report titled “Refugees - Actions Needed by State Department and DHS

19   to Further Strengthen Applicant Screening Process and Assess Fraud Risks”, available at

20   https://www.gao.gov/assets/690/686310.pdf (last accessed July 9, 2018).
21            13.   Attached hereto as Exhibit 12 is a true and correct copy of a Fact Sheet from the
22   United States Department of State titled “In-Country Refugee/Parole Program for Minors in El

23   Salvador, Guatemala, and Honduras With Parents Lawfully Present in the United States”, available

24   at https://2009-2017.state.gov/j/prm/releases/factsheets/2014/234067.htm (last accessed July 3,

25   2018).

26            14.   Attached hereto as Exhibit 13 is a true and correct copy of a United States
27   Citizenship and Immigration Services webpage titled “Central American Minors (CAM)

28   Refuges/Parole Program: Information for Conditionally Approved Applicants”, available at

                                                    -2-
     DECLARATION OF DANIEL B. ASIMOW                                                  No. 3:18-cv-03539-LB
              Case 3:18-cv-03539-LB Document 25 Filed 07/12/18 Page 4 of 9



 1   https://web.archive.org/web/20170602083720/https://www.uscis.gov/humanitarian/humanitarian-

 2   parole/central-american-minors-cam-refugeeparole-program-information-conditionally-approved-

 3   applicants (version from June 2, 2017 last accessed on July 6, 2018).

 4            15.   Attached hereto as Exhibit 14 is a true and correct copy of a September 27, 2017
 5   Reuters article titled “U.S. will phase out program for Central American child refugees”, available

 6   at https://www.reuters.com/article/us-usa-immigration-minors/u-s-will-phase-out-program-for-

 7   central-american-child-refugees-idUSKCN1C234G (last accessed July 3, 2018).

 8            16.   Attached hereto as Exhibit 15 is a true and correct copy of a September 14, 2017
 9   ProPublica article titled “The Trump Administration Plans to End a Refugee Program for Children”,

10   available at https://www.propublica.org/article/the-trump-administration-to-end-a-refugee-program-

11   for-central-america-children (last accessed on July 3, 2018).

12            17.   Attached hereto as Exhibit 16 is a true and correct copy of August 16, 2017
13   Washington Post article titled “Trump Administration Ends Obama-Era Protection Program for

14   Central American Minors”, available at https://www.washingtonpost.com/politics/trump-

15   administration-ends-obama-era-protection-program-for-central-american-

16   minors/2017/08/16/8101507e-82b6-11e7-ab27-

17   1a21a8e006ab_story.html?utm_term=.9a3c070df63c (last accessed July 3, 2018).

18            18.   Attached hereto as Exhibit 17 is a true and correct copy of a June 16, 2015
19   Washington Post article titled “Full Text: Donald Trump announces a presidential bid”, available at

20   https://www.washingtonpost.com/news/post-politics/wp/2015/06/16/full-text-donald-trump-
21   announces-a-presidential-bid/?noredirect=on&utm_term=.588b9f597fd7 (last accessed on July 6,

22   2018).

23            19.   Attached hereto as Exhibit 18 is a true and correct copy of a October 19, 2016
24   Washington Post article titled “Trump on immigration: There are ‘bad hombres’ in the United

25   States”, available at https://www.washingtonpost.com/news/post-politics/wp/2016/10/19/trump-on-

26   immigration-there-are-bad-hombres-in-the-united-states/?noredirect=on&utm_term=.58f75c8a3cbd

27   (last accessed on July 6, 2018).

28            20.   Attached hereto as Exhibit 19 is a true and correct copy of document from Donald

                                                     -3-
     DECLARATION OF DANIEL B. ASIMOW                                                  No. 3:18-cv-03539-LB
              Case 3:18-cv-03539-LB Document 25 Filed 07/12/18 Page 5 of 9



 1   Trump for President, Inc. website titled “Immigration Reform That Will Make America Great

 2   Again”, available at

 3   https://web.archive.org/web/20150929153557/https://www.donaldjTrump.com/positions/immigrati

 4   on-reform (version from September 29, 2015 last accessed on July 9, 2018)

 5            21.   Attached hereto as Exhibit 20 is a true and correct copy of a July 6, 2015 Business
 6   Insider article titled “Donald Trump just released an epic statement raging against Mexican

 7   immigrants and ‘disease’”, available at http://www.businessinsider.com/donald-trumps-epic-

 8   statement-on-mexico-2015-7 (last accessed on July 9, 2018).

 9            22.   Attached hereto as Exhibit 21 is a true and correct copy of a Twitter posting by
10   President Donald J. Trump on May 25, 2016 at 6:39 a.m., available at

11   https://twitter.com/realdonaldtrump/status/735465352436408320?lang=en (last accessed July 3,

12   2018).

13            23.   Attached hereto as Exhibit 22 is a true and correct copy of a Twitter posting by
14   President Donald J. Trump on June 4, 2016 at 6:04 a.m., available at

15   https://twitter.com/realdonaldtrump/status/739080401747120128?lang=en (last accessed on July 3,

16   2018).

17            24.   Attached hereto as Exhibit 23 is a true and correct copy of a December 2016 Time
18   Magazine article titled “2016 Person of the Year - Donald Trump”, available at

19   http://time.com/time-person-of-the-year-2016-donald-trump (last accessed on July 6, 2018)

20            25.   Attached hereto as Exhibit 24 is a true and correct copy of an August 21, 2015
21   Boston Globe article title “’Passionate’ Trump fans behind homeless man’s beating?”, available at

22   https://www.bostonglobe.com/metro/2015/08/20/after-two-brothers-allegedly-beat-homeless-man-

23   one-them-admiringly-quote-donald-trump-deporting-illegals/I4NXR3Dr7litLi2NB4f9TN/story.html

24   (last accessed on July 3, 2018).

25            26.   Attached hereto as Exhibit 25 is a true and correct copy of an August 20, 2015
26   National Public Radio article titled “How Realistic Is Donald Trump’s Immigration Plan?”,

27   available at https://www.npr.org/sections/itsallpolitics/2015/08/20/432934599/how-realistic-is-

28   donald-trumps-immigration-plan (last accessed on July 9, 2018).

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     DECLARATION OF DANIEL B. ASIMOW                                                  No. 3:18-cv-03539-LB
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 1          27.     Attached hereto as Exhibit 26 is a true and correct copy of an August 15, 2017 New
 2   York Times article titled “Policy Under Trump Bars Obama-Era Path to U.S. for Central American

 3   Youths”. available at https://www.nytimes.com/2017/08/15/us/trump-central-american-

 4   refugees.html (last accessed on July 6, 2018).

 5          28.     Attached hereto as Exhibit 27 is a true and correct copy of a June 26, 2017
 6   Washington Post article titled “President Trump’s claim that MS-13 gang members are being

 7   deported ‘by the thousands’”, available at https://www.washingtonpost.com/news/fact-

 8   checker/wp/2017/06/26/president-trumps-claim-that-ms-13-gang-members-are-being-deported-by-

 9   the-thousands/?noredirect=on&utm_term=.67cc87eba0b3 (last accessed July 9, 2018).

10          29.     Attached hereto as Exhibit 28 is a true and correct copy of “Remarks by President
11   Trump During Meeting with Immigration Crime Victims”, dated June 28, 2017, available at

12   https://www.whitehouse.gov/briefings-statements/remarks-president-trump-meeting-immigration-

13   crime-victims/ (last accessed July 9, 2018).

14          30.     Attached hereto as Exhibit 29 is a true and correct copy of a January 25 2017 C-
15   Span article titled “President Trump at the Department of Homeland Security”, available at

16   https://www.c-span.org/video/?422704-1/president-trump-visits-homeland-security-department (last

17   accessed July 9, 2018).

18          31.     Attached hereto as Exhibit 30 is a true and correct copy of an August 3, 2017
19   Washington Post article titled “’This deal will make me look terrible’: Full transcripts of Trump’s

20   calls with Mexico and Australia”, available at
21   https://www.washingtonpost.com/graphics/2017/politics/australia-mexico-

22   transcripts/?noredirect=on&utm_term=.84dfda25dce8 (last accessed July 9, 2018).

23          32.     Attached hereto as Exhibit 31 is a true and correct copy of a February 23, 2017 Los
24   Angeles Times article titled “One comment from Trump shows his administration’s message on

25   immigration has been muddled”, available at http://www.latimes.com/politics/la-na-pol-trump-

26   immigration-20170223-story.html (lass accessed on July 9, 2018).

27          33.     Attached hereto as Exhibit 32 is a true and correct copy of a September 5, 2017 New
28   York Times article titled “Trump Pardons Joe Arpaio, Who Became Face of Crackdown on Illegal

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     DECLARATION OF DANIEL B. ASIMOW                                                   No. 3:18-cv-03539-LB
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 1   Immigration”, available at https://www.nytimes.com/2017/08/25/us/politics/joe-arpaio-trump-

 2   pardon-sheriff-arizona.html (last accessed July 9, 2018).

 3          34.       Attached hereto as Exhibit 33 is a true and correct copy of “Statement from
 4   President Donald J. Trump”, dated September 5, 2017, available at

 5   https://www.whitehouse.gov/briefings-statements/statement-president-donald-j-trump-7/. (last

 6   accessed July 9, 2018).

 7          35.       Attached hereto as Exhibit 34 is a true and correct copy of a January 12, 2018
 8   Washington Post article titled “Trump derides protections for immigrants from ‘shithole’

 9   countries”, available at https://www.washingtonpost.com/politics/trump-attacks-protections-for-

10   immigrants-from-shithole-countries-in-oval-office-meeting/2018/01/11/bfc0725c-f711-11e7-91af-

11   31ac729add94_story.html?utm_term=.61618220db67 (last accessed July 9, 2018).

12          36.       Attached hereto as Exhibit 35 is a true and correct copy of a February 3, 2018 CNN
13   article titled “Trump threatens to cut off aid to countries that allow drugs into US”, available at

14   https://www.cnn.com/2018/02/02/politics/donald-trump-foreign-aid-drugs/index.html (last accessed

15   July 9, 2018).

16          37.       Attached hereto as Exhibit 36 is a true and correct copy of a May 16. 2018 CBS
17   News article titled “Trump calls some criminal illegal immigrants ‘animals,’ suggests Oakland

18   mayor obstructed justice”, available at https://www.cbsnews.com/news/trump-hosts-california-

19   sanctuary-state-roundtable-live-updates/ (last accessed July 9, 2018)

20          38.       Attached hereto as Exhibit 37 is a true and correct copy of a May 6. 2018 CNN
21   article titled “DHS ends protections for nearly 90,000 Central Americans”, available at

22   https://www.cnn.com/2018/05/04/politics/immigration-tps-honduras/index.html (last accessed July

23   9, 2018),.

24          39.       Attached hereto as Exhibit 38 is a true and correct copy of a January 11, 2018
25   Business Insider article titled “The Trump administration has ended protections for immigrants

26   from 4 countries - here’s when they will have to leave the US”, available at

27   http://www.businessinsider.com/trump-has-ended-temporary-protection-status-for-4-countries-

28   2018-1 (last accessed July 9, 2018).

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     DECLARATION OF DANIEL B. ASIMOW                                                     No. 3:18-cv-03539-LB
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 1            40.   Attached hereto as Exhibit 39 is a true and correct copy of a June 18, 2018 AP News
 2   article titled “Hundreds of children wait in Border Patrol facility in Texas”, available at

 3   https://www.apnews.com/9794de32d39d4c6f89fbefaea3780769 (last accessed July 9, 2018).

 4            41.   Attached hereto as Exhibit 40 is a true and correct copy of a September 5, 2017 New
 5   York Times article titled “Trump Moves to End DACA and Calls on Congress to Act”, available at

 6   https://www.nytimes.com/2017/09/05/us/politics/trump-daca-dreamers-immigration.html (last

 7   accessed July 9, 2018).

 8            42.   Attached hereto as Exhibit 41 is a true and correct copy of a May 16, 2018 New
 9   York Times article titled “Trump Calls Some Unauthorized Immigrants ‘Animals’ in Rant”,

10   available at https://www.nytimes.com/2018/05/16/us/politics/trump-undocumented-immigrants-

11   animals.html (last accessed July 9, 2018).

12            43.   Attached hereto as Exhibit 42 is a true and correct copy of a June 18, 2018 New
13   York Times article titled “Trump Resisting a Growing Wrath for Separating Migrant Families”,

14   available at https://www.nytimes.com/2018/06/18/us/politics/trump-immigration-germany-

15   merkel.html (last accessed July 9, 2018).

16            44.   Attached hereto as Exhibit 43 is a true and correct copy of a June 25, 2018 Time
17   magazine article titled “Here’s the Constitutional Problem With Trump’s Call to Deport Immigrants

18   Without Seeing Judges”, available at http://time.com/5321318/donald-trump-immigration-due-

19   process/ (last accessed July 9, 2018)

20            45.   Attached hereto as Exhibit 44 is a true and correct copy of press release by the
21   White House dated June 19, 2018 titled “The Crisis At The Border By The Numbers”, available at

22   https://www.aila.org/infonet/white-house-fact-sheet-crisis-at-the-border- (last accessed July 9,

23   2018).

24            46.   Attached hereto as Exhibit 45 is a true and correct copy of a June 5, 2018 New York
25   Times article titled “Trump Administration in Chaotic Scramble to Reunify Migrant Families”,

26   available at https://www.nytimes.com/2018/07/05/us/migrant-children-chaos-family-

27   separation.html (last accessed July 9, 2018).

28            47.   Attached hereto as Exhibit 46 is a true and correct copy of a Twitter posting by

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     DECLARATION OF DANIEL B. ASIMOW                                                     No. 3:18-cv-03539-LB
            Case 3:18-cv-03539-LB Document 25 Filed 07/12/18 Page 9 of 9



 1   President Donald J. Trump on June 25, 2018 at 5:43 a.m., available at

 2   https://twitter.com/realDonaldTrump/status/1011228265003077632 (last accessed July 3, 2018)

 3          48.       Attached hereto as Exhibit 47 is a true and correct copy of Attorney General
 4   Sessions Delivers Remarks to the Association of State Criminal Investigative Agencies 2018 Spring

 5   Conference, Scottsdale, AZ - Monday, May 7, 2018, available at

 6   https://www.justice.gov/opa/speech/attorney-general-sessions-delivers-remarks-association-state-

 7   criminal-investigative (last accessed July 3, 2018).

 8          49.       Attached hereto as Exhibit 48 is a true and correct copy of a June 18, 2018 New
 9   York Times article titled “Kirstjen Nielsen Addresses Families Separation at Border: Full

10   Transcript, available at https://www.nytimes.com/2018/06/18/us/politics/dhs-kirstjen-nielsen-

11   families-separated-border-transcript.html (last accessed July 9, 2018).

12          50.       Attached hereto as Exhibit 49 is a true and correct copy of a June 26. 2018 CNN
13   article titled “Pompeo defends Trump agenda in face of global anger over tariffs, migrant”,

14   available at https://m.cnn.com/en/article/h_3b148231cc3e4ee33c32fde129bfeec4 (last accessed

15   July 9, 2018).

16          I certify under the laws of the United States of America that the foregoing is true and

17   correct. Executed on this 12th day of July 2018 in San Francisco, California.

18                                                               /s/ Daniel B. Asimow
                                                                DANIEL B. ASIMOW
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     DECLARATION OF DANIEL B. ASIMOW                                                    No. 3:18-cv-03539-LB
